
RAWLINSON, Circuit Judge,
concurring in part and dissenting in part:
I concur in that portion of the majority opinion concluding that Petitioner’s convictions do not constitute violations of a protection order under 8 U.S.C. § 1227(a)(2)(E)(ii) when analyzed pursuant to the categorical approach articulated in Taylor v. United States, 495 U.S. 575, 600-601, 110 S.Ct. 2143, 109 L.Ed.2d 607 (1990). I respectfully dissent from that portion of the majority opinion concluding that Petitioner’s convictions constitute violations of a protection order under the modified categorical approach articulated in Taylor. See id.
As the majority opinion recognizes, under the modified categorical approach, the pertinent documents in the record must establish that Petitioner’s conviction meets the requirements of 8 U.S.C. § 1227(a)(2)(E)(ii). In this case, the pertinent documents are Petitioner’s guilty pleas and the Complaints. Therefore, for Petitioner’s convictions to constitute disqualifying offenses, the Complaints and guilty pleas must establish that his crimes of conviction fell within the provisions of 8 *972U.S.C. § 1227(a)(2)(E)(ii), which proscribes:
conduct that violates the portion of a protection% order that involves protection against credible threats of violence, repeated harassment or bodily injury to the person or persons for whom the protection order was issued ...
8 U.S.C. § 1227(a)(2)(E)(ii). Our task, under the modified categorical approach, is to determine whether Petitioner’s Complaints and guilty pleas established that he violated “the portion of a protection order that involves protection against credible threats of violence, repeated harassment or bodily injury ...” Id.
In this case, however, Petitioner’s guilty pleas did no more than state that he violated California Penal Code Section 273.6. The guilty pleas did not establish, as the majority opinion represents, that Petitioner was convicted “of violating an order obtained pursuant to Section 6320 and 6389 of the [California] Family Code.” Although Petitioner was charged with “violating an order obtained pursuant to Section 6320 and 6389,” he did not plead guilty “as charged in the Complaint,” see United States v. Vidal, 504 F.3d 1072, 1087 (9th Cir.2007) (en banc), or plead guilty to “violating an order obtained pursuant to Section 6320 and 6389,” see United States v. Martinez-Martinez, 468 F.3d 604, 613 (9th Cir.2006) (concluding that recitation of the statutory elements is insufficient to establish the nature of a prior conviction where the statute of conviction is overly broad). In such a circumstance, we have held that the modified categorical approach is not satisfied. See United States v. Lopez-Montanez, 421 F.3d 926, 931 (9th Cir.2005) (holding documents insufficient when they “simply restate the language of the statute” and defendant enters a plea without elaboration); see also United States v. Kovac, 367 F.3d 1116, 1119-20 (9th Cir.2004) (rejecting as insufficient documents that “merely recite[d] the statutory section and title” without detailing the facts to which defendant pled); Sandoval-Lua v. Gonzales, 499 F.3d 1121, 1132 (9th Cir.2007) (noting, in a related context, that the documents in the record must establish that the defendant “necessarily admitted” the elements of the qualifying offense); Cisneros-Perez v. Gonzales, 465 F.3d 386, 391 (9th Cir.2006), as amended (concluding that the prior conviction was not established under the modified categorical approach where the judgment record did not establish that “the defendant” necessarily pleaded ... to the allegations in the original complaint) (emphasis added); Rebilas v. Mukasey, 527 F.3d 783, 787 (9th Cir.2008), as amended (holding that application of the modified categorical approach did not establish a covered conviction where the judgment of conviction did not contain “the factual basis for the crime”); Martinez-Perez v. Gonzales, 417 F.3d 1022, 1029 (9th Cir.2005), as amended (determining that the record of conviction was inadequate where it reflected only a guilty plea to the statute of conviction); Renteria-Morales v. Mukasey, 532 F.3d 949 (9th Cir.2008) (noting that inferences are inadequate to meet the government’s burden unless “such inferences are necessary”).
Simply put, our precedent does not countenance the conclusion reached by the majority. To the contrary, we have consistently held that, under the modified categorical approach, a guilty plea must, at a minimum, reference the allegations in the charging document to establish a predicate conviction. See Vidal, 504 F.3d at 1087. Because the skeletal documents in this case do not establish that the Petitioner pled guilty to violating a protection order as described in 8 U.S.C. § 1227(a)(2)(E)(ii), I would grant the petition for review.
